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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


Criminal Action No. 16-cr-00284-CMA

UNITED STATES OF AMERICA,

       Plaintiff,

v.

1. DONALD ILEY,

       Defendant.

_____________________________________________________________________

                             CORRECTED
                 MOTION TO EXTEND FILING DEADLINES
_____________________________________________________________________

       The United States of America (the government), by and through J. Chris Larson,

Assistant United States Attorney for the District of Colorado, moves the Court to reset

the deadlines set forth in the Court’s Criminal Practice Standards. Specifically, the

government requests the Court move the deadlines of April 4, 2017, for the filing of jury

instructions, and April 11, 2017, for the filing of exhibit lists, and witness lists. The

government has conferred with defense counsel, who does not oppose the motion.

       The defendant filed a notice of disposition on March 20, 2017, and requested a

“change of plea date consistent with the Court’s and the Parties’ schedules.” The

change of plea hearing is presently scheduled for April 18, 2017, the date of the

previously scheduled Final Trial Preparation Conference. Trial is scheduled for May 8,

2017, with jury selection on May 1, 2017. Multiple filing deadlines will expire before the


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change of plea hearing on April 18, 2017. For instance, the jury instructions are due

two weeks before that date and the exhibit and witness lists are due one week before

the change of plea hearing.

       In the unforeseen event the change of plea hearing does not transpire as

planned, the government requests that the jury instructions be due on April 21, 2017,

and witness lists and exhibit lists be due on April 28, 2017; rather than all being due in

advance of the Change of Plea Hearing/Final Trial Preparation Conference.

       To be clear, the government is not requesting the Court vacate the May 8, 2017,

trial date, or the May 1, 2017, date for jury selection. The instant proposal simply

spares trial preparation in advance of the change of plea hearing and attempts to honor

the spirit of U.S.S.G. § 3E1.1. That provision provides that a defendant may receive a

third point for acceptance of responsibility by timely notifying the government of its intent

to plead guilty—“thereby permitting the government to avoid preparing for trial and

permitting the government and the court to allocate their resources efficiently.” The

defendant has timely notified the government of his intent to plead guilty—and thus the

government intends to move for the third point.

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       The government files this motion to move the deadline for submission of jury

instructions to April 21, 2017, and the deadline for witness and exhibit lists to April 28,

2017, to allow the efficient allocation of resources as contemplated in U.S.S.G. § 3E1.1.


                                           Respectfully submitted,

                                           ROBERT C. TROYER
                                           Acting United States Attorney

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